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 8                          UNITED STATES DISTRICT COURT

 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                             January 2020 Grand Jury

11   UNITED STATES OF AMERICA,               CR    2:20-cr-00617-DMG

12             Plaintiff,                    I N D I C T M E N T

13             v.                            [18 U.S.C. § 1119(b): Foreign
                                             Murder of a United States
14   MICHAEL KARHANEK,                       National; 18 U.S.C. § 2261(a)(1):
                                             Traveling in Foreign Commerce with
15             Defendant.                    Intent to Commit Murder, a Crime
                                             of Domestic Violence]
16

17        The Grand Jury charges:
18                                     COUNT ONE
19                              [18 U.S.C. § 1119(b)]
20        On or about February 27, 2016, in the country and within the
21   jurisdiction of Belize, defendant MICHAEL KARHANEK, a national of the
22   United States, with premeditation, deliberation, and malice
23   aforethought, unlawfully and willfully killed Tiffany Karhanek, a
24   national of the United States.
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 1                                     COUNT TWO

 2                            [18 U.S.C. § 2261(a)(1)]

 3        On or about February 25, 2016, defendant MICHAEL KARHANEK,

 4   traveled in foreign commerce, from Los Angeles County, within the

 5   Central District of California, to the country of Belize, with the

 6   intent to kill his spouse, Tiffany Karhanek, and in the course of and

 7   as a result of such travel, committed murder, a crime of violence,

 8   against his spouse, Tiffany Karhanek.

 9                                              A TRUE BILL
10

11                                                     /S/
                                                Foreperson
12

13   NICOLA T. HANNA
     United States Attorney
14

15

16   BRANDON D. FOX
     Assistant United States Attorney
17   Chief, Criminal Division

18   JOANNA M. CURTIS
     Assistant United States Attorney
19   Chief, Violent & Organized Crime
     Section
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     JEFFREY M. CHEMERINSKY
21   GREGORY A. LESSER
     Assistant United States Attorneys
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